
PER CURIAM.
• AFFIRMED. Based on defendant’s numerous and successive meritless pro se filings, we hold that Mr. Ray is precluded from filing any additional pro se appeals, pleadings, motions or petitions relating to his conviction and sentence in trial court cases CR-90-2313 and CR-90-4412, unless reviewed and signed by an attorney licensed to practice in the State of Florida. See Rahymes v. State, 730 So.2d 420, 422 (Fla. 5th DCA), cause dismissed, 733 So.2d 516 (Fla.1999); Davis v. State, 705 So.2d 133, 135 (Fla. 5th DCA 1998); Isley v. State, 652 So.2d 409, 410-411 (Fla. 5th DCA 1995); see also Lockett v. State, 769 So.2d 1141 (Fla. 5th DCA 2000).
GRIFFIN, PALMER and ORFINGER, R.B., JJ., concur.
